      Case 1:24-cv-08054-MKV         Document 49-6       Filed 02/21/25   Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
                                                    :
In the Matter of                                    :    M-2-238
                                                    :
ANTHONY G. BUZBEE,                                  :
                                                    :    ORDER
                      Petitioner.                   :
-----------------------------------------------------X

       The Committee on Grievances (“Committee”) has considered
Anthony G. Buzbee’s petition for admission to the United States District Court
for the Southern District of New York (the “Petition”), which was filed on
January 29, 2025. Per the Committee’s review of the dockets, Mr. Buzbee has
appeared in cases in this Court without seeking admission. Therefore, the
Petition is denied. In the event Mr. Buzbee moves for pro hac vice or regular
admission in this Court in the future, he must attach a copy of this Order to
his motion or petition.

Dated:        New York, New York
              February 13, 2025

                                            SO ORDERED.


                                            _____________________________
                                            Katherine Polk Failla
                                            Chair, Committee on Grievances, S.D.N.Y.
